                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )    Case No. 1:19mj00057
                                             )
JAMES L. JORDAN,                             )           ORDER
    Defendant,                               )


      On motion of counsel for the government, with counsel for the defendant not
objecting, it is hereby ORDERED, pursuant to 18 U.S.C. §§ 4241(b), 4247(b) and
4247(c), that the defendant be detained for psychological or psychiatric
examination for a period of not more than 45 days from the date of the defendant's
arrival at the designated institution. The examining psychiatrist/psychologist shall
report his/her findings to this court as to the following:


      1.     Whether the defendant is suffering from a mental disease or
             defect rendering him mentally incompetent to the extent that he
             is unable to understand the nature and consequences of the
             proceedings against him or assist properly in his defense
             (18 U.S.C. § 4241); and
      2.     Whether the defendant may have suffered from a mental
             disease or defect at the time of the alleged offense, and, if so,
             whether he lacked substantial capacity to appreciate the
             wrongfulness of his conduct (18 U.S.C. § 4242).




 Case 1:19-mj-00057-PMS Document 11 Filed 05/13/19 Page 1 of 2 Pageid#: 12
      The report shall be SEALED by the Clerk upon receipt. Upon receipt, the
Clerk also shall send a copy of the report to all counsel of record.


      The Bureau of Prisons shall designate the defendant to the appropriate facility
forthwith, and the U.S. Marshals Service shall transport the defendant to the
designated facility as soon as possible. It is ORDERED that the U.S. Marshals
Service shall arrange for appropriate psychiatric or psychological treatment,
including appropriate medications, for the defendant pending his arrival at the
designated facility.    It is FURTHER ORDERED that, upon the defendant’s
discharge from Bureau of Prisons’ custody to return to this district, the Bureau of
Prisons shall arrange for an adequate supply of any necessary medications to
accompany the defendant.


      The Clerk is directed to send certified copies of this Order to the United States
Marshal for this district and to all counsel of record.


      ENTERED: May 13, 2019.



                                 /s/   Pamela Meade Sargent
                                 UNITED STATES MAGISTRATE JUDGE




                                            2




 Case 1:19-mj-00057-PMS Document 11 Filed 05/13/19 Page 2 of 2 Pageid#: 13
